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Shawndale D. Chilcoat, Sui juris Donald E. Chilcoat, Sui juris
3528 Bunker Hill Road, Celina, Ohio 45822 3528 Bunker Hill Road, Celina, Ohio 45822
567-644-3313 419-953-2242
Shawnchil04@gmail.com Don2chilcoat@gmail.com

IN THE FEDERAL DISTRICT COURT FOR WASHINGTON DC FOR THE

UNITED STATES OF AMERICA
UNITED STATES OF AMERICA Case No 22cr299
Petitioner,
Vv NOTICE OF SPECIAL
Shawndale D. Chilcoat APPEARANCE

RECEIVED
Mail Room

SEP -7 2023

Angela D. Caesar, Clerk of Court
U.S. District Court, District of Columbia

Donald E. Chilcoat

Respondent’s,

TO: CLERK OF THE ABOVE DISTRICT COURT

Comes now, the alleged Defendant’s SHAWNDALE D. CHILCOAT and
DONALD E. CHILCOAT, in err, Shawndale D. Chilcoat and Donald E; Chilcoat, are the living
woman and man, creations of God, two of the people of the territory of Ohio, appearing
specially, not generally and objecting to the jurisdiction of this court. We have not received one
document from the clerk of court, Pursuant to Rule 12 (b) (1)(2)(3)(4)(5); Rule 45 (a) (1) (2), (b)

(1) (2) (3), (c) and (d); Ohio CRP 4.1 (B) we are requesting from the Clerk of Court, all Journal
Case 1:22-cr-00299-CKK Document 74 Filed 09/20/23 Page 2 of 14

Entries of all the valid orders and motions filed in the above-named case, to be sent to our home,
at 3528 Bunker Hill Rd., Celina, Ohio 45822, via United States Certified Mail and any future
hearing dates ordered from the court to be sent by the Clerk of Court, via United States Certified
Mail. For the record, I had requested United States Certified Mail in November of 2022, during
the December 9, 2023, status hearing and on August 27, 2023, to the Clerk of Court via ded
intake. During a recorded phone call to DC pretrial Services on August 29, 2023, to send ail
communications via United States Certified Mail as well as the signed and filed with the Clerk of
Court, stating that I, Shawndale D. Chilcoat is being supervised by DC Pretrial Services.
Although I did not receive these documents, the following day on August 28, 2023, Pretrial
Services in Ohio, contacted me to perform a home visit. I requested for the Pretrial Services
Officer to have Pretrial Services in DC sent send me the lawful documents via United States
Certified mail. On August 29, the Ohio Pretrial Services Probation Officer appeared at Donald
E. Chilcoat’s place of employment with documents, in hand, from DC Pretrial Services, but these
documents did not have a Clerks Stamp for proof of filing and were not provided by United
States Certified Mail. I am also requesting to have the Certificate of Service provided at the end
of the document, returned to me via United States Certified Mail. I have not ever received one
Certificate of Service back from this court, although I have provided one with each document I

have provided to this court. These documents are coming from outside of Ohio State lines and

" io has Process of Service Rules.

wndale D. Chilcoat Donald E. Chilcoat
Case 1:22-cr-00299-CKK Document 74 Filed 09/20/23 Page 3 of 14

Date Date

IN THE FEDERAL DISTRICT COURT FOR WASHINGTON DC FOR THE

UNITED STATES OF AMERICA
UNITED STATES OF AMERICA Case No 22cr299
Petitioner,
v.
Shawndale D. Chilcoat NOTICE OF NONCONSENT
Donald E. Chilcoat TO ATTORNEYS/COUNSELS
Respondents,

This notice is to inform the court of non-consent of Attorneys/Counsels, proceedings,
hearings, adjudication, agreements, litigation, protection orders, pretrial services, and/or any or
all unlawful and or illegal contact or involvement in the above-named case. The Respondents
withdraw any and all implied, assumed or by acquiescence and have only been involved in any

way to the above-named case by force, threat, duress, coercion, trickery and deceit.
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On August 23, 2023, Micheal Lawlor and Nicholas Madiou were fired, for not doing
their jobs, not upholding their oaths, violating BAR rules, and for usurping, my, Shawndale
Chilcoat’s, decision to involve the media in the above-named case, violating my 1°", 5", and 6
Amendment rights. I, Shawndale Chilcoat, fired Micheal Lawlor and Nicholas Madiou, via
audio text, on August 23, 2023, both assigned Attorneys/Counsel were part of the audio text,
and this was made clear, but just to be sure they understood, I sent a email to Nicholas Madiou,

on August 27, 2023, stating the following:
“Subject line- To be clear.

Email Body- You and Micheal Lawlor do not represent me, I do not consent to any contact or
solicitation from either of you, this includes but not limited to phone calls, text, or emails. Any
lawful contact from the court, will come through the United States Mail certified from the Clerk

of Court.”

Any further contact/solicitation will be harassment and will result in BAR Complaints

and further action.

Maria Jacobs was fired on August 27, 2023, a signed letter via text that stated the

following:

“T looked at page 13 of the decision the judge sent, via FedEx, and the one you sent by e-mail
and the judge did not sign it on page 13 or anywhere. Also, you say the order that keeps me on
monitoring is by Magistrate Clay in Toledo OH, but I have a letter from Magistrate Clay saying
he doesn't have jurisdiction. Plus, Magistrate Clay having me on monitoring, but judge Kollar-
Kotelly is the judge making the decisions to keep me on it, doesn’t make sense. I do not trust

you, therefore, you are no longer my counsel. I do not consent to your counsel, i do not consent
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to you representing me or making any motions for me. I do not consent to this case, I do not
consent to agreements, I do not consent to litigation, and I do not consent to trials regarding this
case. I do not consent to any contact or solicitation from you. This includes, but is not limited to
phone calls, texts, and/or emails. Any lawful contact from the court, will come through the

United States Certified Mail, from the clerk of court.
Donald E Chilcoat”

Maria was fired for not doing her job, not upholding her oath, violating BAR rules, and for
usurping Donald Chilcoat’s decision to involve the media in the above-named case violating his
15, 5", and 6" Amendment rights. Maria Jacobs lied to Donald E. Chilcoat several times. The

following are some of Maria Jacobs lies and unethical behaviors.

1. Maria Jacobs told Donald Chilcoat there was a Protection Order on the case, for nearly a
year, this Protection Order does not exist.

2. Maria Jacobs, on July 28, 2023, during a recorded phone call, told Donald Chilcoat he
could not withdraw consent to this pretended Protection Order, that she supposedly
signed for him but did not review with him, because “the judge already signed it”.

3. Maria Jacobs, on July 28, 2023, told Donald Chilcoat, on a recorded phone call, that she
did review the Protection Order with him, when she did not.

4. Maria Jacobs, on July 28, 2023, when Donald Chilcoat, asked Maria Jacobs on a recorded
phone call, if she ever got the video tapes that his work had proving the FBI forced his
thumb onto his phone to open it while his hands were cuffed, Maria Jacobs stated she did
subpoena the videos, “but they said they don’t have them anymore because its been so
long, um they usually only keep videos like 15 days or 20 days”, Donald Chilcoat replied

“well they had them when you contacted them” and then Maria Jacobs stated “they did
10.

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respond at first that they had them and then they were mistaken, I can show you the
emails, unfortunately they were mistaken and they responded back saying “we’re sorry
we don’t have them””. Ms. Jacobs stated she can show Donald Chilcoat the emails but
did not provide them.

Maria Jacobs stated to Donald Chilcoat the warrant allowed the FBI to force his thumb
onto his phone to open it.

Maria Jacobs, on December 8, 2022, told Donald Chilcoat, on a recorded phone call, that
the Protection Order was not a contract.

Maria Jacobs, on December 8, 2022, told Donald Chilcoat, on a recorded phone call he
could not share any discovery with his wife because that would violate the Protection
Order, that did not exist.

Maria Jacobs after sending Donald Chilcoat, a copy of the judge’s decision, for the
motion to dismiss for lack of jurisdiction, stated to Donald Chilcoat, over recorded phone
call, that the judge did sign the decision, stating “yeah its right there on page 13” when it
is clearly not on page 13 or anywhere on the denial to dismiss, document provided on
skan disc.

Ms. Jacobs stated that the denial to dismiss for lack of jurisdiction was proof of
jurisdiction and that it was filed with the Clerk of Court. Ms. Jacobs stated that the blue
printed words at the top of the page was an “indication” that the document has been filed
with the clerk of court, even though it is not signed by the judge.

Maria Jacobs provided Donald Chilcoat, via email, three motions to remove the monitor
from his ankle, that has been there for over a year, that she states she has provided to

Judge Kollar-Kotelly. Maria Jacobs has not signed one of these 3 motions.
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11. Maria Jacobs refused to file a writ of habeas corpus and stated, “it’s not done that way”

and also refused to file a motion to dismiss for failure to state a remedy for relief.

Any further contact from these attorneys/counsels, Maria Jacobs, Micheal Lawlor, or
Nicholas Madiou, whom were assigned by the above-named court will be considered threatening
harassment. The State of Ohio does not allow solicitation of this kind to come from outside of
the Ohio State Lines. This motion will be provided to ded intake via email and United States
Certified Mail. The United States Certified Mailed document will come notarized with a skan

disc that includes all calls and communication mentioned in this document.

ACKNOWLEDGMENT

STATE OF OHIO — )

Notary Public
State of Ohio
My Comm. Expires
August 1, 2027

: SS.

County of MERCER )

On the be day of S0ttiniar N24, before me, the undersigned
Notary Public, personally appeared Donat lt ( h AW vide, le Ch IC0A tenown

to me to be the person whose name is subscribed to the foregoing instrument, and

acknowledged to me that s/he executed the same.

IN WITNESS WHEREOF, I have set my hand and seal the day and year

as above written.

Uydie JUL

Notary Public for Ohio

Case 1:22-cr-00299-CKK Document 74 Filed 09/20/23 Page 8 of 14

Residing at \ CVUtl Liyary j DH)
Commission Expires: () -|- ad YT]

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ndale D. Chilcoat Donald E. Chilcoat

CERTIFICATE OF SERVICE
I certify that on the day of 2023, a true and correct copy of the forgoing was served
upon:
Clerk/DCD Intake Delivered Certified Mail
United States District Court for the and Electronically
District of Columbia

333 Constitutional Ave,
N.W. Washington DC 2002
Case 1:22-cr-00299-CKK Document 74 Filed 09/20/23 Page 9 of 14

Shawndale D. Chilcoat, Sui juris Donald E. Chilcoat, Sui juris

3528 Bunker Hill Road, Celina, Ohio 45822 3528 Bunker Hill Road, Celina, Ohio 45822
567-644-3313 419-953-2242

Shawnchil04@gmail.com Don2chilcoat@gmail.com

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Shawndale D. Chilcoat APPEARANCE

Donald E. Chilcoat

Angela D. Cy

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JS. District Coy Clerk of Court

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Respondent 8, int, District of Columbia

TO: CLERK OF THE ABOVE DISTRICT COURT

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DONALD E. CHILCOAT, in err, Shawndale D. Chilcoat and Donald E; Chilcoat, are the living
woman and man, creations of God, two of the people of the territory of Ohio, appearing
specially, not generally and objecting to the jurisdiction of this court. We have not received one
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Shawndale D. Chilcoat Donald E. Chilcoat

Case 1:22-cr-00299-CKK Document 74 Filed 09/20/23 Page 11 of 14

G-4-Jodg G-4-J0d)

Date Date

IN THE FEDERAL DISTRICT COURT FOR WASHINGTON DC FOR THE

UNITED STATES OF AMERICA
UNITED STATES OF AMERICA Case No 22cr299
Petitioner,
Vv.
Shawndale D. Chilcoat NOTICE AMENDED

Donald E. Chilcoat

Respondents,

This notice is to inform the court that on September 4, 2023, Shawndale D. Chilcoat,
received a phone call and was informed that her Mother, Delora D. Hall, whom is at Lima
Memorial Hospital, 1003 Bellefontaine Ave., Lima Ohio, 45804, 419-228-3335, Floor 2, Room
2008, organs are shutting down and she will probably not survive the night, therefore, the
September 5, 2023, will not be able to be attended by Shawndale D. Chilcoat and Donald E.

Chilcoat. If Shawndale D. Chilcoat’s mother does survive the night she will be coming home
Case 1:22-cr-00299-CKK Document 74 Filed 09/20/23 Page 12 of 14

with her with hospice care. This notice will be sent to DCD intake via email and United States

Certified Mail, notarized.

I, Shawndale D. Chilcoat, also have an order from the Mercer County Clerk of Court to appear at
a hearing on September 5, 2023, at 1:00 p.m. in regard to me taking emergency custody on,
August 30, 2023, of my twin nephews, that my Mother has raised since birth. This order from
the court has the clerk’s stamp and is signed by the Deputy Clerk, Kristi Burch as well as signed
by Judge Matthew L. Gilmore. Shawndale and Donald Chilcoat are married and are One, of

course he will need to be there for me (his wife of 30 years) while I am handling these emotional,

trying times.

ACKNOWLEDGMENT

STATE OF OHIO)

LYDIA MORGAN MILLER
Notary Public
State of Ohio

My Comm. Expires
August 1, 2027

: SS.

County of MERCER )

On the it day of \ (rt Wi\zlr _, 2023 before me, the undersigned
Notary Public, personally appeared 1), NA \ { qd, \haweda Ch ty {i { known

to me to be the person whose name is subscribed to the foregoing instrument, and
acknowledged to me that s/he executed the same.

IN WITNESS WHEREOEF, I have set my hand and seal the day and year

as above written.
Case 1:22-cr-00299-CKK Document 74 Filed 09/20/23 Page 13 of 14

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Notary Public for Ohio

Residing at__ Me vcty Covaty OHI

Commission Expires: % “\-nNar

€

Donald E. Chilcoat

Case 1:22-cr-00299-CKK Document 74 Filed 09/20/23 Page 14 of 14

CERTIFICATE OF SERVICE
I certify that on the day of 2023, a true and correct copy of the forgoing was served
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District of Columbia

333 Constitutional Ave.
N.W. Washington DC 20002
